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       EXEL, INC. dba DHL SUPPLY CHAIN
   8
   9                         UNITED STATES DISTRICT COURT
 10             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
 11
 12    THOMAS WADE, an individual,            Case No: 5:22-cv-00093-JAK-KK
 13                        Plaintiff,         [Removed from San Bernardino Superior
                                              Court; Case No.: CIV SB 2130619]
 14            v.
                                              DEFENDANT’S SUPPLEMENTAL
 15    EXEL, INC. DBA DHL SUPPLY              CERTIFICATE OF INTERESTED
       CHAIN, a company of unknown            PARTIES AND CORPORATE
 16    incorporation; and DOES 1 through      DISCLOSURE STATEMENT
       50, inclusive,                         PURSUANT TO F.R.C.P. 7.1 AND
 17                                           LOCAL RULE 7.1-1
                           Defendants.
 18
                                              Complaint Filed: October 26, 2021
 19                                           Trial Date:   None Set
 20
 21            TO THE ABOVE-ENTITLED COURT AND TO ALL PARTIES AND
 22    THEIR COUNSEL OF RECORD:
 23            Pursuant to the Court’s order, Defendant submits this Supplemental
 24    Certificate of Interested Parties and Corporate Disclosure Statement Pursuant to
 25    FRCP 7.1 and Local Rule 7.1-1
 26    //
 27    //
 28    //
                                           1
                       DEFENDANT’S CORPORATE DISCLOSURE STATEMENT
       FP 42954324.1
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   1         CERTIFICATE OF INTERESTED PARTIES AND CORPORATE
   2                           DISCLOSURE STATEMENT
   3           Deutsche Post Beteiligungen Holding GmbH, owner of DPWN Holdings
   4   (USA), Inc., and Deutsche Post, AG, owner of Deutsche Post Beteiligungen
   5   Holding GmbH, have no financial or corporate ownership relationship with
   6   Deutsche International or Deutsche Govt Money Market Fund. Defendant EXEL
   7   Inc. dba DHL SUPPLY CHAIN is not aware of any other relationship between the
   8   above entities.
   9
 10    Dated: January 26, 2022                 Respectfully submitted,
 11                                            FISHER & PHILLIPS LLP
 12
 13                                      By:   /s/ Ashton M. Riley
                                               Christopher J. Boman
 14                                            Boris Sorsher
 15                                            Ashton M. Riley
                                               Attorneys for Defendant
 16                                            EXEL, INC. dba DHL SUPPLY
                                               CHAIN
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                       DEFENDANT’S CORPORATE DISCLOSURE STATEMENT
       FP 42954324.1
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   1                                CERTIFICATE OF SERVICE
   2         I, the undersigned, am employed in the County of Orange, State of
       California. I am over the age of 18 and not a party to the within action; am
   3   employed with the law offices of Fisher & Phillips LLP and my business address
       is 2050 Main Street, Suite 1000, Irvine, California 92614.
   4
              On January 26, 2022, I served the foregoing document entitled
   5   DEFENDANT’S SUPPLEMENTAL CERTIFICATE OF INTERESTED
       PARTIES AND CORPORATE DISCLOSURE STATEMENT PURSUANT
   6   TO F.R.C.P. 7.1 AND LOCAL RULE 7.1-1 on all the appearing and/or interested
       parties in this action by placing    the original     a true copy thereof enclosed in
   7   sealed envelope(s) addressed as □ follows:
   8    Jake D. Finkel                               Attorneys for Plaintiff
        Joshua Park                                  THOMAS WADE
   9    LAW OFFICES OF JAKE D. FINKEL,
        APC                                          T: 213-787-7411
 10     3470 Wilshire Blvd., Suite 830               F: 213-916-0521
        Los Angeles, CA 90010                        E: jake@lawfinkel.com
 11                                                  E: josh@lawfinkel.com
             [by MAIL] - I am readily familiar with the firm's practice of collection and
 12           processing correspondence for mailing. Under that practice it would be
              deposited with the U.S. Postal Service on that same day with postage thereon
 13           fully prepaid at Irvine, California in the ordinary course of business. I am
              aware that on motion of the party served, service is presumed invalid if
 14           postage cancellation date or postage meter date is more than one day after
              date of deposit for mailing this affidavit.
 15
              [by ELECTRONIC SUBMISSION] - I served the above listed
 16            document(s) described via the United States District Court’s Electronic
               Filing Program on the designated recipients via electronic transmission
 17            through the CM/ECF system on the Court’s website. The Court’s CM/ECF
               system will generate a Notice of Electronic Filing (NEF) to the filing party,
 18            the assigned judge, and any registered users in the case. The NEF will
               constitute service of the document(s). Registration as a CM/ECF user
 19            constitutes consent to electronic service through the court’s transmission
               facilities.
 20
              [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice
 21            for collection and processing of correspondence for overnight delivery by
               Federal Express. Under that practice such correspondence will be deposited
 22            at a facility or pick-up box regularly maintained by Federal Express for
               receipt on the same day in the ordinary course of business with delivery fees
 23            paid or provided for in accordance with ordinary business practices.
 24           I declare that I am employed in the office of a member of the bar of this
       Court at whose direction the service was made. Executed January 26, 2022 at
 25    Irvine, California.
 26      Everlyn Camanag                       By: /s/ Everlyn Camanag
                       Print Name                                   Signature
 27
 28
                                                 1
                                       CERTIFICATE OF SERVICE
       FP 42954324.1
